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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                              Case No. 4:16-cr-00061-01 KGB

BRENDA MONTGOMERY                                                                DEFENDANT

                                            ORDER

       Pending is defendant Brenda Montgomery’s motion to continue sentencing hearing

(Dkt. No. 32). The government filed a response objecting to the motion (Dkt. No. 33). For good

cause shown, the motion is granted.

       By agreement of the parties, the sentencing hearing in this matter is rescheduled to

Thursday, September 29, 2016 at 3:00 p.m.

       It is so ordered this 29th day of September, 2016.


                                                     ____________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
